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                                 UNITED STATES DISTRICT COURT
15
                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
16

17
     JOHN D. HALTIGAN,                             Case No. 5:23-cv-02437-EJD
18
                  Plaintiff,                       DEFENDANTS’ REPLY IN SUPPORT OF
19                                                 MOTION TO DISMISS FIRST AMENDED
           vs.                                     COMPLAINT
20
   MICHAEL V. DRAKE, in his official capacity
21 as President of the University of California;   Judge:   Hon. Edward J. Davila
   CYNTHIA K. LARIVE, in her official
22 capacity as Chancellor of UC Santa Cruz;        Date:   October 12, 2023
   BENJAMIN C. STORM, in his official              Time:   9:00 a.m.
23 capacity as Chair of the UC Santa Cruz          Courtroom: 4
   Psychology Department; and KATHARYNE
24 MITCHELL, in her official capacity as Dean
   of the UC Santa Cruz Division of Social
25 Sciences,

26                Defendants.

27

28

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 1 I.       INTRODUCTION

 2          Plaintiff’s First Amendment challenge to Defendants’ use of statements regarding
 3 contributions to diversity, equity, and inclusion (“DEI” statements) in hiring faculty at the

 4 University of California, Santa Cruz (“UCSC”) fails for multiple independent reasons. His

 5 opposition is heavy on inflated rhetoric but notably light on any legal authority or argument that

 6 would affect the reasons for dismissal set forth in Defendants’ motion to dismiss.

 7          First, the opposition confirms that Plaintiff does not have standing to sue. He does not
 8 allege an injury that is either (a) actual or imminent or (b) concrete and particularized—and either

 9 of those two deficiencies alone requires dismissal. Plaintiff alleges neither (a) that there is

10 currently or will imminently be a job to which he could apply nor (b) that he has actually applied

11 to any job at UCSC requiring a DEI statement. He is therefore no differently positioned than any

12 other member of the public who may have a “generalized grievance” about how UCSC handles

13 hiring. See Carney v. Adams, 141 S. Ct. 493, 502 (2020).

14          Plaintiff’s unusual decision to submit a declaration with his opposition suggests that he
15 knows his allegations are insufficient to establish standing—but even the conclusory statement in

16 his declaration that he is “ready and able” to apply (if he had actually alleged it) would fall well

17 short of what he needs for standing. Not only is that statement the definition of conclusory, but

18 being “ready and able” to apply is not enough to establish standing. This does not address the

19 absence of a job to apply for—and therefore the absence of an actual or imminent injury (point (a)

20 above). And, even in terms of (b) concreteness, the cases Plaintiff cites that apply the “ready and

21 able” standard all involved objective criteria, such as race, that a prospective applicant could not

22 satisfy, so there would have been no reason to require them to apply. Here, by contrast, DEI

23 statements are judged by subjective criteria, and the principles of concreteness require Plaintiff

24 actually to apply for a job before he has standing to file a lawsuit challenging how those subjective

25 criteria might affect him.

26          Second, Plaintiff’s claims fail on the merits because he does not allege any constitutionally
27 protected speech. Plaintiff concedes that applicants for public employment do not have First

28 Amendment protection during the application process for speech that enables the employer to

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 1 evaluate the applicant’s ability to perform the “official duties” of the job. See Garcetti v.

 2 Ceballos, 547 U.S. 410, 421 (2006). Plaintiff argues vociferously that the DEI statement has

 3 nothing to do with official duties, but this rhetoric ignores what is actually alleged in his

 4 complaint. According to the First Amended Complaint (“FAC”), DEI statements enable UCSC to

 5 evaluate applicants’ ability to perform job functions that Plaintiff himself alleges UCSC has

 6 expected faculty to perform for nearly twenty years. See Mot. at 15; FAC ¶ 13. DEI statements

 7 are therefore precisely the kind of speech that public employers can consider when hiring their

 8 employees and do not provide a valid basis for a First Amendment claim. Plaintiff also fails to

 9 allege an adverse employment action; nor could he as he did not apply for a job. That is an

10 additional independently sufficient reason why Plaintiff’s claims fail.

11             Defendants respectfully submit that the Court should grant their motion to dismiss with

12 prejudice for any or all of these independently sufficient reasons.

13 II.         ARGUMENT

14             A.      Plaintiff Lacks Standing to Sue
15                     1.      Plaintiff Has Not Alleged That There Is or Will Soon Be a Job Opening
                               Requiring a DEI Statement
16

17             First, Plaintiff does not allege that, at the time he filed the operative FAC, there was or
                                                                          1
18 would soon be an open position within the UCSC’s Psychology Department. See FAC ¶¶ 66–69.

19 To state an injury-in-fact sufficient to support a court’s exercise of jurisdiction, the alleged injury

20 must be “concrete, particularized, and actual or imminent.” TransUnion LLC v. Ramirez, 141 S.

21
     1
22       To the extent Plaintiff’s repeated assertions that there was a job opening “at the time of filing”

23 suggests that the Court should consider the allegations in the original complaint, that is wrong as a

24 matter of law. The Supreme Court has explained that where, as here, “a plaintiff files a complaint

25 in federal court and then voluntarily amends the complaint, courts look to the amended complaint

26 to determine jurisdiction.” Rockwell Int’l Corp. v. United States, 549 U.S. 457, 473–74 (2007);

27 see also Lacey v. Maricopa Cnty., 693 F.3d 896, 927 (9th Cir. 2012) (en banc) (an amended

28 complaint “super[s]edes the original complaint and renders it without legal effect”).

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 1 Ct. 2190, 2203 (2021) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992)). All

 2 Plaintiff alleges is that, in July 2022—months before Plaintiff became unemployed and nearly a

 3 year before filing the amended complaint—UCSC announced a hiring search in its Psychology

 4 Department. FAC ¶¶ 60, 66. Plaintiff does not allege that the position was still open at the time

 5 he filed the FAC (indeed he appears to concede that the position is no longer open, see Opp. at 9).

 6 Nor does he make any allegations about the frequency with which the department has hired in the

 7 past or will in the future. See FAC ¶¶ 66–69. Without any allegations of any current or imminent

 8 job opening, Plaintiff has alleged only that “some day” he might be disadvantaged in a hiring

 9 process, without any “specification of when the some day will be.” Lujan, 504 U.S. at 563–64.

10 Such amorphous and speculative allegations of future injury are insufficient to establish the

11 Court’s jurisdiction. See id.; Mot. at 7–8.

12          Plaintiff tries to paper over this obvious deficiency in his FAC by asserting in his

13 opposition what is not alleged in his complaint. See, e.g., Opp. at 5 (claiming that Plaintiff’s

14 complaint “is based on a specific job” that was “available at the time of filing”); Opp. at 7 (“[A]t

15 the time he filed his complaint, there was an actual job that he was qualified for and that he

16 wanted.”); Opp. at 10 (“The University is constantly hiring and will inevitably post (another) job

17 opening that [Plaintiff] is qualified for.”). But even if a faculty job in the Psychology Department

18 for which he was qualified would “inevitably” open up, Plaintiff’s failure to specify when means

19 this, too, is no more than a “some day” injury insufficient to confer standing. See Lujan, 504 U.S.

20 at 563. And, as already explained, the relevant question is whether he alleges the job was open at

21 the time of filing his amended, not original, complaint. See supra p. 2–3. In any event, motions to

22 dismiss turn on the sufficiency of the complaint, not new allegations added in the briefs. Nor can

23 Plaintiff add allegations by submitting a declaration with his opposition. See Schneider v. Cal.

24 Dep’t of Corr., 151 F.3d 1194, 1197 n.1 (9th Cir. 1998) (“In determining the propriety of a Rule

25 12(b)(6) dismissal, a court may not look beyond the complaint to a plaintiff's moving papers, such

26 as a memorandum in opposition to a defendant’s motion to dismiss.”). Plaintiff therefore has not

27 made any allegations that there was any job—other than one posted nearly a year prior and which

28 he concedes is no longer open—that he was either denied or prevented from fairly competing for.

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 1 His objection to UCSC’s use of DEI statements in Psychology Department faculty hiring therefore

 2 presents an “abstract generalized grievance,” Carney, 141 S. Ct. at 502, and not any “real

 3 controversy with real impact,” TransUnion, 141 S. Ct. at 2203.

 4                   2.      Plaintiff Has Not Applied for Any Job at UC Santa Cruz Requiring a DEI
                             Statement
 5
             Independently, Plaintiff’s injury is insufficiently concrete to confer standing because, as he
 6
     concedes (Opp. at 7), he never submitted an application. See TransUnion, 141 S. Ct. at 2203. In
 7
     general, a party must “have actually confronted the policy” that he alleges to be discriminatory in
 8
     order to have standing to sue. Friery v. L.A. Sch. Dist., 448 F.3d 1146, 1149 (9th Cir. 2006). One
 9
     of the “several prudential and practical advantages” of this rule is that it “ensure[s] that the
10
     challenged policy actually affected the person challenging it,” id. (quoting United States v. Baugh,
11
     187 F.3d 1037, 1042 (9th Cir. 1999)) (emphasis added), and avoids situations in which “the
12
     absence of an application has rendered the . . . dispute ambiguous,” Dragovich v. U.S. Dep’t of the
13
     Treasury, 764 F. Supp. 2d 1178, 1186 (N.D. Cal. 2011).
14
             Those considerations are particularly salient here. According to Plaintiff’s allegations, the
15
     DEI statement rubric applies multiple highly subjective criteria to assess applicants’ knowledge,
16
     past professional contributions, and future professional plans. See Mot. at 18–20 (describing
17
     Plaintiff’s allegations concerning the DEI statement rubric). Plaintiff offers little in the way of
18
     allegations illustrating how that subjective criteria might be applied to anything he might submit.
19
     Id. (describing Plaintiff’s allegations concerning his own views). He does not, for example, make
20
     any allegation that applicants with beliefs similar to his—i.e., “colorblind inclusivity,” “viewpoint
21
     diversity” and “merit-based evaluation” alone—have been disadvantaged. Indeed, Plaintiff alleges
22
     that he has certain professional experiences that would receive high scores. See Mot. at 9–10.
23
     That is precisely the kind of ambiguous criteria that benefit from the concreteness of an actually
24
     submitted—and acted on—application in order to ensure that the policy “actually affected”
25
     Plaintiff. See id.
26
             Plaintiff cites a slew of cases to claim that he need only be “ready and able” to apply. But
27
     none of those cases involved comparably subjective criteria. Northeastern Florida Chapter of
28

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 1 Associated General Contractors of America v. City of Jacksonville, 508 U.S. 656, 658 (1993),

 2 Gratz v. Bollinger, 539 U.S. 244, 262 (2003), Parents Involved in Community Schools v. Seattle

 3 School District No. 1, 551 U.S. 701, 719 (2007), and Bras v. California Public Utilities

 4 Commission, 59 F.3d 869, 873–74 (9th Cir. 1995), all involved explicit racial classifications—not

 5 subjective criteria—that provided specific advantages or disadvantages in a competitive process.

 6 Likewise, in Carney, 141 S. Ct. at 499–500, lawyers were eligible to become state court judges

 7 only if they were registered with one of the two major parties. Even in Planned Parenthood of

 8 Greater Washington & Northern Idaho v. United States Department of Health & Human Services,

 9 946 F.3d 1100, 1106 (9th Cir. 2020), funding was made available only to bidders who used a

10 specific risk assessment tool that Planned Parenthood refused to use and thought was unlawful.

11 Thus, in each of these cases, it was obvious how the challenged objective criteria would “actually

12 affect” the plaintiff’s ability to compete, making the plaintiff’s claimed injury sufficiently concrete

13 to permit adjudication; none of these cases involved a situation in which the failure to apply

14 “rendered the … dispute ambiguous,” as here. Dragovich, 764 F. Supp. 2d at 1186; see Friery,

15 448 F.3d at 1149. Plaintiff does not cite a single case in which subjectively evaluated criteria like

16 DEI competency were challenged and a court excused the plaintiff’s failure to apply.

17          But even if Plaintiff needed only to allege that he is “ready and able” to apply, he has not

18 alleged that. In Carney v. Adams, the Supreme Court held that a Delaware lawyer had not shown

19 he was “able and ready to apply” for a state court judgeship and therefore lacked standing to

20 challenge the partisan-balance requirements for judicial vacancies in that state. 141 S. Ct. at 501.

21 The Court first deemed the plaintiff’s “words ‘I would apply[,] . . .’ stand[ing] alone without any

22 actual past injury, without reference to an anticipated timeframe, without prior judgeship

23 applications, without any prior relevant conversations, [and] without efforts to determine likely

24 openings.” insufficient to establish standing. Id. The Court then looked to “context”—such as the

25 plaintiff’s failure to previously apply, and the timing of his filing of the complaint—as evidence of

26 little more than a “desire to vindicate his view of the law” and not actually to apply to become a

27 state court judge. Id. Lastly, the Court reasoned that “if we were to hold that [the plaintiff’s] few

28 words of general intent—without more and against all contrary evidence—were sufficient to show

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 1 an ‘injury in fact,’ we would significantly weaken the longstanding legal doctrine preventing this

 2 Court from providing advisory opinions at the request of one who, without other concrete injury,

 3 believes that the government is not following the law.” Id. at 501–02.

 4          As in Carney, Plaintiff’s allegations regarding his readiness and ability to apply are

 5 insufficient to establish standing. Plaintiff does not even allege that he is “ready and able” to

 6 apply for a position now or in the future. He of course has not alleged any current opening, see

 7 supra p. 2–3, but his pleading failures go well beyond that: While he alleges that he “desires a

 8 position at the University,” FAC ¶ 69 (emphasis added), this is less than what was deemed

 9 insufficient in Carney. Plaintiff nowhere alleges that he “would apply” for a future opening. Nor

10 has Plaintiff alleged any “actual past injury,” “anticipated timeframe” for his application, “prior

11 relevant conversations,” or “efforts to determine likely openings.” See Carney, 141 S. Ct. at 501–

12 02. Plaintiff implicitly acknowledges this deficiency, as he offers a declaration that is both too

13 little and too late to confer standing. Adding evidence outside of the pleadings in an opposition

14 cannot avoid dismissal. See Schneider, 151 F.3d at 1196–97. And, in any event, all Plaintiff

15 proffers is the bare—and insufficient—assertion that he is “ready” and “willing” to apply. See

16 Haltigan Decl. ¶ 13. Just as in Carney, Plaintiff has not “sufficiently differentiated himself from a

17 general population of individuals affected in the abstract” by the DEI statement requirement to

18 establish his standing to sue. 141 S. Ct. at 501–02.

19          In Plaintiff’s view, he is excused from applying on the theory that First Amendment

20 challenges are broadly exempted from the ordinary requirements of Article III standing. But

21 Plaintiff both overreads the cases and overstates his circumstances. Both cases on which Plaintiff

22 relies involved pre-enforcement First Amendment challenges to statutory provisions that

23 contained criminal or heavy civil penalties. See Santa Monica Food Not Bombs v. City of Santa

24 Monica, 450 F.3d 1022, 1030 (9th Cir. 2006) (challenging an ordinance criminalizing certain

25 expressive and associational conduct in public places); Ariz. Right to Life Pol. Action Comm. v.

26 Bayless, 320 F.3d 1002, 1006 (9th Cir. 2003) (challenging a statute subjecting certain speech to

27 civil penalties). As the Ninth Circuit explained in Arizona Right to Life, pre-enforcement

28 challenges to such statutes are permitted based on the recognition that “one should not have to risk

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 1 prosecution to challenge a statute” on First Amendment grounds. 320 F.3d at 1006 (emphasis

 2 added). Plaintiff of course faces no such risk. Plaintiff would not have broken the law by

 3 submitting a DEI statement that reflects his sincerely held views. He does not and would not face

 4 prosecution or civil investigation. At worst, he would be in the same position he is in now

 5 (without a job at UCSC)—except he, Defendants, and this Court would have a record on which to

 6 evaluate whether and how the DEI statement requirement “actually affected” his application.

 7 Friery, 448 F.3d at 1149.

 8          B.      Plaintiff’s Complaint Fails to State a First Amendment Viewpoint
                    Discrimination Claim
 9
                    1.      Plaintiff Has Not Adequately Alleged That the DEI Statement Requirement
10                          Involves Protected Speech
11
            Plaintiff does not dispute that the elements of a viewpoint discrimination claim against a
12
     government employer are: “(1) that [plaintiff] engaged in protected speech; (2) that the employer
13
     took ‘adverse employment action’; and (3) that [the plaintiff’s] speech was a ‘substantial or
14
     motivating factor’ for the adverse employment action.” Turner v. City & Cnty. of S.F., 788 F.3d
15
     1206, 1210 (9th Cir. 2015). Plaintiff also does not dispute that, under Garcetti, public employees
16
     generally cannot bring First Amendment claims for speech related to their “official duties.” Mot.
17
     at 14. Nor does Plaintiff dispute that this in turn means that speech by job applicants relevant to
18
     evaluating their ability to perform “official duties” is not actionable. See Opp. at 1.
19
            Instead, Plaintiff’s arguments are simply recycled versions of the same conclusory refrain:
20
     In his view, the DEI statement “requirement seeks to probe applicants for viewpoints unrelated to
21
     the job” and is thus outside their “official duties.” Opp. at 13 (emphasis added); see also, e.g.,
22
     Opp. at 16 (“[T]he University is using DEI Statements to probe and evaluate candidates because of
23
     their beliefs that have little to do with their jobs.”). For that reason, according to Plaintiff, the DEI
24
     statement requirement must therefore be some illicit attempt to regulate the views of private
25
     citizens. Yet this framing is inconsistent with Plaintiff’s allegations, ignores the test for official
26
     duties announced in Garcetti, and is not supported by any of the cases Plaintiff cites.
27

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 1                          (a)     The DEI Statement Requirement Does Not Implicate Protected
                                    Speech Because It Relates to Faculty Members’ “Official Duties”
 2
            Turning first to Plaintiff’s legal arguments, he is wrong that the DEI statement requirement
 3
     does not relate to the “official duties” Plaintiff would be expected to perform if hired. The
 4
     Supreme Court has made clear that whether particular speech is related to “official duties” for
 5
     purposes of Garcetti is a function of what the employer “actually . . . expect[s]” employees to
 6
     do—not what Plaintiff thinks they should be asked to do. 547 U.S. at 424–25. Plaintiff nowhere
 7
     alleges that the DEI statement requirement goes beyond what UCSC actually expects of its
 8
     employees. Nor could he. By Plaintiff’s own account, the University does “actually . . . expect”
 9
     faculty members to demonstrate DEI competency and perform DEI-related activities: For
10
     example, Plaintiff alleges that, for nearly twenty years—and long before the advent of the DEI
11
     statement requirement—the University has evaluated faculty members for tenure and promotion
12
     based on their efforts to promote “diversity and equal opportunity.” FAC ¶ 13. Plaintiff’s own
13
     complaint therefore confirms that the DEI statement relates to the “official duties” of the job under
14
     Garcetti.
15
            Even the cases Plaintiff cites support that conclusion. In Wetherbe, the Fifth Circuit
16
     interpreted Garcetti to extend to speech concerning a broad array of topics and in no way
17
     suggested that topics that might be considered “political” were off limits. Wetherbe v. Smith, 593
18
     F. App’x 323, 329 (5th Cir. 2014). Just the opposite: The Fifth Circuit went on to explain that
19
     employers could permissibly ask about topics such as “leadership philosophy,” “opinion[s] on
20
     issues that are central to the operation and mission of the institution, and other concerns that will
21
     allow the interviewers to gauge whether the applicant will be an effective employee.” Id. That
22
     rule from the Fifth Circuit arguably sweeps even more broadly than speech that directly concerns
23
     the official duties of the job, but reaches all speech that might assist the employer in evaluating the
24
     applicant’s ability to perform those “official duties.” See id. There is no need to go so far here,
25
     since Plaintiff’s allegations confirm that the DEI statement relates to the official duties of faculty
26
     positions at UC Santa Cruz.
27

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 1          Plaintiff’s reliance on Worrell v. Henry, 219 F.3d 1197, 1207 (10th Cir. 2000), is equally

 2 misplaced. Although Worrell predates Garcetti, it too undermines Plaintiff’s argument. Applying

 3 the then-controlling and far more plaintiff-friendly Pickering standard, the Tenth Circuit held that

 4 a drug agency task force could withdraw a job offer based on truthful testimony the plaintiff gave

 5 as a defense expert about arrest procedures based on a concern that his testimony would cause

 6 internal disruption within the force and with other law enforcement agencies. Id. at 1207–09.

 7 Thus, Worrell supports the even broader proposition that an employer may evaluate prospective

 8 employees’ speech in its own right and based on the effect of that speech on the prospective

 9 employee’s interactions with others in the workplace.

10          Unable to show that the DEI statement requirement does not relate to the University’s

11 interest in evaluating the applicant’s ability to perform the “official duties” of the position,

12 Plaintiff argues that Garcetti does not apply because those official duties are somehow unlawful or

13 improper. Opp. at 16–17. But Garcetti contains no such limitation, nor does Plaintiff explain why

14 one should exist. If a public entity has a program that is substantively unlawful, it can be

15 challenged on that basis, but it does not mean that all public employee speech related to that

16 program is retroactively deemed to be outside of “official duties.” Plaintiff’s argument that

17 UCSC’s DEI activities (and related expectations of DEI competency by faculty) somehow violate

18 students’ rights under the U.S. and California Constitutions’ prohibitions on discrimination is

19 clearly a circular and improper attempt to attack DEI activities via a plaintiff who has no standing

20 to challenge them directly. Plaintiff is not a student or faculty member at UCSC and has offered

21 no explanation for why—with respect to UCSC’s on-campus treatment of its students—his is

22 anything other than the kind of “generalized grievance” that courts cannot hear. See Carney, 141

23 S. Ct. at 502. And in any event, though Plaintiff has alleged that faculty are encouraged to

24 promote “diversity and equal opportunity” once hired, Plaintiff has not plausibly alleged anything

25 at all about the actual DEI activities that take place at UCSC or anything improper about such

26 activities. He therefore offers no basis to conclude that UCSC’s practices violate the law or are

27 otherwise improper.

28

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 1          In any event, Plaintiff’s argument that that the Supreme Court’s decision in Students for

 2 Fair Admissions, Inc. v. President & Fellows of Harvard College, 143 S. Ct. 2141, 2175 (2023)

 3 (“SFFA”), somehow makes it unlawful or improper for the university to “actually . . . expect” its

 4 employees to perform DEI-related job duties is also wrong. This grossly misreads SFFA. While

 5 the decision is specific to the admissions process, SFFA expressly endorsed schools’ ability to

 6 evaluate students based on a student’s account of how their race or ethnicity might relate to their

 7 “unique ability to contribute” to campus life and beyond. Id. at 2175. SFFA is therefore not at all

 8 inconsistent with the conclusion that the DEI statement requirement relates to UCSC’s ability to

 9 evaluate an applicant’s ability to perform their official duties, which includes mentoring, advising,

10 and writing letters of recommendation for UCSC’s diverse population of students.

11          The other viewpoint discrimination cases that Plaintiff cites similarly fail to support his

12 argument. Shelton v. Tucker concerned compelled disclosure of all of a teacher’s organizational

13 affiliations in the past year. 364 U.S. 479, 483, 488 (1960) (cited in Opp. at 15). But in Shelton

14 the court struck down the compelled disclosure law not because schools could not inquire about

15 organizational affiliations, but because it swept too broadly and would necessarily compel

16 disclosure of affiliations that were unrelated to a teacher’s fitness to teach. Id. at 488. Perry v.

17 Sindermann is inapposite because the statements there were made at public hearing at which the

18 plaintiff had nominally appeared in his private capacity rather than, as here, in a context facially

19 related to the plaintiff’s prospective employment. 408 U.S. 593 (1972). And National

20 Endowment for the Arts v. Finley, rather than supporting Plaintiff’s position, underscores that

21 government may use relevant content-based criteria when awarding government benefits via a

22 competitive selection process. See Mot. at 13 (discussing NEA v. Finley, 524 U.S. 569, 585

23 (1998)). In any event, Finley is not an employment case, did not find a First Amendment

24 violation, and instead merely suggested in dicta that it was theoretically possible that the

25 government could give grants and awards in a manner that amounted to the “a penalty on

26 disfavored viewpoints.” 524 U.S. at 586–87. Plaintiff identifies no case finding a violation on

27 such a theory. And all these cases predate Garcetti so they cannot possibly be read to illuminate

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 1 the breadth of the essential question here: whether the DEI statement is speech related to “official

 2 duties” under that precedent.

 3          Plaintiff cannot dodge this key question by conclusorily recasting the DEI statement as a

 4 “political litmus test.” See Opp. at 12–13. That rhetorical device has no legal significance and

 5 Plaintiff cites no case suggesting it does. As explained in the motion to dismiss, many jobs across

 6 the public sector, including in universities, often require employees to perform tasks (e.g.,

 7 administer a vaccine) that some in society might associate with a particular “political” view. Mot.

 8 at 20–21. As a result, public sector employers rightfully and necessarily often ask job applicants

 9 questions that have some political dimension: for example, a college or university’s sustainability

10 office might ask questions that implicate an applicant’s views on climate change or nuclear

11 energy. A health center might ask applicants questions about their competencies around sexual

12 health education that implicate contested ideas about abstinence-only sex education or consent.

13 Stripped of rhetoric, Plaintiff’s argument amounts to an astounding and wrong-headed assertion

14 that job application questions somehow violate the First Amendment if they touch on controversial

15 or ideologically inflected topics, even when those topics are relevant to the longstanding

16 expectations of employers about the job functions an employee will perform. That would flip

17 Garcetti on its head.

18                         (b)     The DEI Statement Requirement, as Alleged, Does Not Relate to
                                   Teaching and Academic Writing
19
            Because the DEI requirement relates to the “official duties” of faculty, Plaintiff’s claim
20
     must be dismissed unless Plaintiff has alleged that the DEI statement requirement “relat[es] to
21
     scholarship or teaching.” See Demers v. Austin, 746 F.3d 402, 406 (9th Cir. 2014) (quotations
22
     omitted). He has not. As noted in the motion to dismiss, Plaintiff’s own allegations characterize
23
     the DEI statement and the faculty duties it relates to as distinct from teaching and academic
24
     writing. Mot. at 16–17 (quoting FAC ¶¶ 13–14). Plaintiff does not address that argument because
25
     he cannot. See Opp. at 17–18.
26
            Plaintiff also either ignores or badly distorts the other two Court of Appeals cases
27
     Defendants relied on in construing the “scholarship or teaching” exception. Plaintiff never
28

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 1 mentions the Ninth Circuit’s decision in Sullivan v. University of Washington, 60 F.4th 574, 582

 2 n.6 (9th Cir. 2023), which held that university service activities—including performing research

 3 oversight—do not relate to scholarship and teaching under Demers. And Plaintiff profoundly

 4 downplays the similarities between this case and Porter v. Board of Trustees of North Carolina

 5 State University, 72 F.4th 573, 578 (4th Cir. 2023). In Porter, the plaintiff, a public university

 6 professor whose objections to DEI initiatives were widely known in his department, objected in a

 7 faculty meeting to adding a question about diversity to student evaluations. Id. The Fourth

 8 Circuit held this was not “speech related to scholarship and teaching.” Id. at 583. When objecting

 9 to a diversity question in course evaluations, the plaintiff “was not teaching a class nor was he

10 discussing topics he may teach or write about as part of his employment.” Id. Though he did

11 invoke the fact that “survey methodology was his personal area of study,” that did not “convert the

12 speech . . . into a matter of scholarship.” Id. Plaintiff here describes the facts of Porter as

13 “complaints over office affairs” and “matters of personal interest.” In reality, Porter mirrors

14 precisely the kind of non-teaching and non-scholarship “official duties” that the DEI statement

15 requirement is used to evaluate. And because the DEI statement requirement takes place in the

16 entirely administrative context of a job application, they are arguably even more attenuated from

17 teaching and academic writing than the faculty member’s speech in a faculty meeting related to

18 student evaluations of their professors in Porter.

19          Lastly, Plaintiff contends that DEI statement requirements in general “almost intrinsically

20 involve matters of relevance to academic work” in the “social sciences.” Opp. at 17–18. But as

21 the Fourth Circuit held in Porter, a professor’s job duties are not transformed into speech related

22 to teaching and writing simply because the professor’s area of expertise may in some way be

23 relevant to those duties. 72 F.4th at 583. Such a rule would lead to obviously absurd results:

24 Would scholars who write about race, sex, or sexual orientation have greater rights to make

25 discriminatory statements on those topics in faculty meetings simply because of their research

26 areas? Of course not. Plaintiff’s unsupported and unalleged assertion that “issues like race, merit,

27 [and] gender” “intrinsically involve matters of relevance to academic work” in every “social

28

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 1 science”—and thus all speech on that topic “relates to scholarship and teaching” in that field—is

 2 no less absurd. Opp. at 17–18.

 3                    2.      Plaintiff Has Not Adequately Alleged That the DEI Statement Requirement
                              Has or Would Cause Any Adverse Action
 4
               Plaintiff’s claim also fails for the independent reason that he does not allege any adverse
 5
     employment action—much less one caused by the DEI statement requirement. As with standing,
 6
     Plaintiff contends that his failure to apply is excusable because it would be futile. Opp. at 19–20.
 7
     Surprisingly, Plaintiff ignores the binding precedent that Defendants cited in their motion
 8
     demonstrating that Plaintiff’s application is not “futile” as a matter of law. See Mot. at 9
 9
     (discussing Taniguchi v. Schultz, 303 F.3d 950, 957 (9th Cir. 2002); Gutowsky v. Cnty. of Placer,
10
     108 F.3d 256, 260–61 (9th Cir. 1997); Bouman v. Block, 940 F.2d 1211, 1222 (9th Cir. 1991)).
11
     Plaintiff instead relies on two other decades-old, out-of-circuit cases, both of which challenged
12
     objective selection criteria that those plaintiffs plainly could not satisfy, rendering their
13
     applications futile. See Opp. at 19 (citing Shackelford v. Deloitte & Touche, LLP, 190 F.3d 398,
14
     406 (5th Cir. 1999) (retaliation based on race); Terry v. Cook, 866 F.2d 373, 378-79 (11th Cir.
15
     1989) (refusal to rehire civil servants who served under losing incumbent candidate)).2 Plaintiff
16
     therefore fails to state a claim for this independent reason.
17
               C.     Plaintiff’s Unconstitutional Conditions Claim also Fails
18
               Plaintiff wrongly contends that his unconstitutional conditions argument should be
19
     evaluated entirely outside the Supreme Court and Ninth Circuit law defining the contours of the
20
     First Amendment in the context of public employment. He offers no support for that assertion.
21

22
     2
         In the third case Plaintiff cites here, Malarkey v. Texaco, Inc., 983 F.2d 1204, 1206, 1213 (2d
23

24 Cir. 1993), the plaintiff was told by her supervisor that she “would not be considered for a

25 promotion” due to her “poor performance evaluations” after expressing interest in a promotion.

26 Plaintiff here faced no such categorical bar, nor was any such categorical bar ever expressed by

27
     UCSC.
28

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 1 All Plaintiff shows is that for “government benefits” other than employment certain conditions

 2 cannot be attached. Opp. at 21 (collecting cases from the grant-making and regulatory contexts).

 3 But the Supreme Court has repeatedly made clear that, when it comes to the First Amendment,

 4 public employment is a unique context, governed by a specific set of rules. See Garcetti, 547 U.S.

 5 at 418–19. That is because public entities “need a significant degree of control over their

 6 employees’ words and actions” in carrying out their functions. Id. The “control” Garcetti

 7 recognizes that public employers require necessarily implies some degree of coercion. Public

 8 employees often must convey messages that are not exactly the ones they would choose if

 9 speaking in their personal capacity. At times, they may even be called upon to express views—

10 whether via speech or conduct—that they do not personally hold because it is part of their job.

11 This, of course, is not even what is happening here because the DEI statement requirement does

12 not compel any particular speech. See Mot. at 22.

13          In any event, Plaintiff agrees that, where the unconstitutional conditions doctrine does

14 apply, a condition is unconstitutional only where it is “by [its] nature” not “within the scope of the

15 program” conferring the benefit. Opp. at 22. For all the reasons already discussed, the DEI

16 statement (the alleged “condition” here) is relevant to assessing an applicant’s capacity to perform

17 the job (the “benefit”) for which the statement is required. See supra p. 8. Thus, even if

18 Plaintiff’s proffered legal standard applied here—and it does not—he cannot state a claim.

19 III.     CONCLUSION

20          Defendants respectfully request that this Court dismiss Plaintiff’s First Amended
21 Complaint with prejudice.

22

23 DATED: September 26, 2023                   MUNGER, TOLLES & OLSON LLP
24                                             By:          /s/ Bryan H. Heckenlively
25                                                  BRYAN H. HECKENLIVELY
                                               Attorneys for Defendants
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